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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                                                     Case No.: 1:21-cr-129
v.
GABRIEL GARCIA.
______________________________/

        MOTION FOR TEMPORARY REMOVAL OF ANKLE MONITOR (UNOPPOSED)
       COMES NOW, Gabriel Garcia, via undersigned counsel, and files this Motion for Temporary Removal
 of Ankle Monitor (Unopposed), and requests this Court enter its Order giving permission for Mr. Garcia’s
 ankle monitor to be removed temporarily by probation for purposes of MRI as follows:

 1. Mr. Garcia is in need of an MRI, and, unfortunately, did not receive the granting of prior sealed motions
     reference an MRI in time to make his appointment(s).

 2. Mr. Garcia and probation request the ankle monitor be removed and re-attached the same day after
     successful MRI images are had. The MRI appointment will be scheduled as soon as this motion is
     granted.

 3. Probation is familiar with the provider and unopposed to this motion.

 4. Government is unopposed to this motion.

 5. Mr. Garcia will avail himself to probation and their directives for the purpose of a temporary removal
     of the ankle monitor and re-attachment same day.

 6. Government is unopposed to this Motion.

       WHEREFORE, Defendant respectfully requests this Honorable Court grant this Motion for
     Temporary Removal of Ankle Monitor and enter its Order permitting probation to temporarily remove
     Mr. Garcia’s ankle monitor for purposes of MRI.
                                      CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion for Temporary Removal
of Ankle Monitor (Unopposed) has been furnished via other means to AUSA, Ashley Akers and AUSA,
Jason McCullough, Office of the U.S. Attorney, District of Columbia, and all other parties listed on this 21st
day of April, 2024.
                                                     /S/ Maria T. Rodriguez
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